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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

MID-AMERICAN BENEFITS, INC.,  )
a Nebraska corporation, and   )
THE NEBRASKA ASSOCIATION OF   )
RESOURCE DISTRICTS, a         )
Nebraska corporation,         )
                              )
               Plaintiffs,    )                  8:12CV96
                              )
          v.                  )
                              )
RMTS, LLC, a New York limited )                   ORDER
liability company, and        )
NATIONWIDE LIFE INSURANCE     )
COMPANY, an Ohio corporation, )
                              )
               Defendants.    )
______________________________)


           This matter is before the Court on the joint motion of

all parties for extension of time in which to file the report of

the parties’ planning conference (Filing No. 22).            The Court

finds the motion should be granted.         Accordingly,

           IT IS ORDERED that the motion is granted; the parties

shall have until twenty-one days after defendants have filed a

response to plaintiffs’ complaint to file their report of

planning conference.

           DATED this 27th day of April, 2012.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
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                                   LYLE E. STROM, Senior Judge
                                   United States District Court
